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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


MILLER UK LTD. AND MILLER
INTERNATIONAL LTD.,

                Plaintiffs,                             Civil Action No. 10-cv-3770
       v.
                                                        Judge Milton I. Shadur
CATERPILLAR INC.,

                Defendant.


CATERPILLAR INC.,

                Counterclaim-Plaintiff,
       v.

MILLER UK LTD. AND MILLER
INTERNATIONAL LTD.,

                Counterclaim-Defendants.



        MEMORANDUM IN SUPPORT OF MOTION OF CATERPILLAR INC.
         FOR PARTIAL SUMMARY JUDGMENT ON COUNT 3 AND FOR
            SUMMARY JUDGMENT ON COUNT 4 OF PLAINTIFFS’
               AMENDED AND SUPPLEMENTAL COMPLAINT

       Caterpillar Inc. (“Caterpillar”) moves for partial summary judgment on Count 3 and for

summary judgment on Count 4 of the Amended and Supplemental Complaint (“A&S

Complaint”) of Miller UK Ltd. and Miller International Ltd. (collectively, “Plaintiffs”) (ECF No.

56). Based on the doctrine of preemption, as set forth in Section 8(a) of the Illinois Trade

Secrets Act (“ITSA”), 765 ILL. COMP. STAT. 1065/8(a):

               Count 3 (fraudulent inducement) is preempted with respect to the part of the claim
                involving buckets.

               Count 4 (unjust enrichment) is preempted in its entirety.


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        ITSA, which stems from the Uniform Trade Secret Act (“UTSA”), displaces numerous

non-contractual common law causes of action if they “rest on the conduct that is said to

misappropriate trade secrets.” Hecny Trans., Inc. v. Chu, 430 F.3d 402, 404-05 (7th Cir. 2005)

(Easterbrook, J.).1 Here, part of Plaintiffs’ claim for fraudulent inducement2 and their entire

claim for unjust enrichment are preempted because such claims rest on the same conduct that

underlies Plaintiffs’ trade secret misappropriation claim (Count 2).

        Furthermore, the preemption of Plaintiffs’ claims is proper now. Preemption applies to

claims for misappropriation of information, regardless of whether Plaintiffs are able (or unable)

to eventually prove that the allegedly confidential information rises to the level of a trade secret.

See Mortgage Specialists, Inc. v. Davey, 904 A.2d 652, 664 (N.H. 2006). In other words, a claim

for misappropriation of trade secrets or confidential information is actionable either under ITSA,

contract law, or not at all. Thus, Caterpillar is entitled to summary judgment on part of Count 3

and all of Count 4.

                                  FACTUAL BACKGROUND

        Plaintiffs assert four causes of action against Caterpillar: Count 1, for breach of contract;

Count 2, for threatened or actual trade secret misappropriation under ITSA; Count 3, for

fraudulent inducement; and Count 4, for unjust enrichment. (SOF ¶ 9.) The focus of Plaintiffs’

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  Section 8(a) of ITSA provides: “Except as provided in subsection (b), this Act is intended to
displace conflicting tort, restitutionary, unfair competition, and other laws of this State providing
civil remedies for misappropriation of a trade secret.” 765 ILL. COMP. STAT. 1065/8(a). Section
8(b) states, in pertinent part, that ITSA does not affect: “(1) contractual remedies…” and “(2)
other civil remedies that are not based upon misappropriation of a trade secret.” Id. § 8(b). For
purposes of this motion, Caterpillar accepts Plaintiffs’ allegation that Illinois law applies.
(“Statement of Material Facts” or “SOF” ¶ 18.)
2
 Plaintiffs’ claim for fraudulent inducement includes allegations for both couplers and buckets.
Caterpillar moves for partial summary judgment on Plaintiffs’ fraudulent inducement claim only
with respect to buckets. See FED. R. CIV. P. 56(a) Advisory Committee’s Note (2010
amendments “make clear” that summary judgment may apply to “part of a claim or defense”).


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complaint is Caterpillar’s alleged theft of Plaintiffs’ purported trade secrets.      (SOF ¶ 8.)

According to Plaintiffs, their complaint “presents the quintessential theft of trade secrets and

breach of a contractual and confidential relationship” between Caterpillar and Plaintiffs. (Id.)

Plaintiffs allege the same conduct to support their claims for trade secret misappropriation,

fraudulent inducement, and unjust enrichment. (SOF ¶¶ 10-12.) Other relevant facts supporting

summary judgment for Caterpillar are included in Caterpillar’s Statement of Material Facts.

       In its Ninth Affirmative Defense, Caterpillar alleges that ITSA preempts Plaintiffs’

claims for fraudulent inducement and unjust enrichment, in whole or in part. (SOF ¶ 19.) The

Court encouraged Caterpillar to file motions to streamline this case. (SOF ¶ 20 (“If you consider

that any of [Caterpillar’s] affirmative defenses are really effective to block part or all…of the

Miller claims, then all of us are better off by having those fronted by actually bringing them on

by way of a motion…. It would really reshape the lawsuit in a constructive way.”).)

                           SUMMARY JUDGMENT STANDARD

       Summary judgment is proper under Rule 56 when the movant establishes there are no

genuine issues of material fact and the movant is entitled to judgment as a matter of law. See,

e.g., FED. R. CIV. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). In evaluating

a motion for summary judgment, the court must construe all facts in favor of and draw all

justifiable inferences for the non-moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 255 (1986). To survive summary judgment, a nonmovant must produce specific material

facts establishing a genuine issue for trial. CMBB LLC. v. Lockwood Mfg., Inc., 628 F. Supp. 2d

881, 882-83 (N.D. Ill. 2009). Material facts are those that might impact the outcome of the

lawsuit. Id. at 883. Issues of preemption are “generally purely legal questions,” see Wisconsin




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Cent., Ltd. v. Shannon, 539 F.3d 751, 759-60 (7th Cir. 2008), and are well-suited for disposition

on summary judgment, see Agustin v. Quern, 611 F.2d 206, 209 (7th Cir. 1979).

                               ITSA PREEMPTION ANALYSIS

        In the 2005 Hecny decision, Judge Easterbrook, speaking for a unanimous panel of the

Seventh Circuit, prescribed how to conduct an ITSA preemption analysis. 430 F.3d at 404-05.

        First, he said that the court should look to pertinent decisions by the state judiciary, not

federal district courts. Id. at 404 (“Decisions of federal district courts on issues of state law have

neither authoritative nor precedential force, so we need not analyze them.”) (internal citations

omitted).3

        Second, Judge Easterbrook suggested that where a state’s highest court had no opinion

applying the preemption provision—as he found was true in Illinois—a federal court should

examine UTSA preemption decisions from the highest courts of other states. Id. at 404-05.

        Third, the court should examine the Commissioner’s comments to UTSA in order to act

in a fashion that would effectuate the purpose and intent of the uniform act. Id. at 405.



3
  Although Judge Easterbrook declined to analyze federal district court opinions regarding ITSA
preemption because they “have neither authoritative nor precedential force,” Caterpillar notes for
the record that several district courts in Illinois have addressed ITSA preemption. See, e.g.,
Tradesmen Int’l, Inc. v. Black, No. 10-2098, 2011 U.S. Dist. LEXIS 128578, at *11-12 n.6 (C.D.
Ill. Nov. 7, 2011) (“[C]ommon law claims are preempted [by ITSA] to the extent they are based
solely on allegations of misappropriation of trade secrets or other confidential information.”);
Stove Builder Int’l, Inc. v. GHP Group, Inc., No. 11 C 1098, 2011 WL 2183160, at *1-2 (N.D.
Ill. June 3, 2011) (ITSA preemption depends on “whether the count is or is not based upon
misappropriation of a trade secret”) (internal quotations omitted); Stafford Trading, Inc. v.
Lovely, No. 05 C 4868, 2007 WL 1512417, at *9, *11 (N.D. Ill. May 21, 2007) (fraudulent
inducement and unjust enrichment claims displaced because facts of the tort claims also
supported misappropriation claim; court need not determine whether trade secret existed before
preemption); Thomas & Betts Corp. v. Panduit Corp., 108 F. Supp. 2d 968, 971, 976 (N.D. Ill.
2000) (common law causes of action preempted because their claims were “covered” by ITSA
and ITSA “abolished all common law theories of misuse of secret information”) (internal
quotations and alterations omitted).


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       Therefore, we must, in the first instance, look to Illinois state court decisions. To date,

the Illinois Supreme Court has not addressed preemption under the ITSA. A few intermediate

Illinois courts have addressed the issue and (without detailed explanations) have preempted non-

contractual common law claims where the claims rest on conduct alleged to involve

misappropriation of trade secrets. See Pope v. Alberto-Culver Co., 694 N.E.2d 615, 619 (Ill.

App. Ct. 1998) (“Unjust enrichment is essentially a claim for restitution [and t]hus, under

[ITSA], plaintiff’s claim must fail.”); Fabricare Equip. Credit Corp. v. Bell, 767 N.E.2d 470,

475 (Ill. App. Ct. 2002) (dictum) (unjust enrichment claim would be preempted under ITSA); see

also Alpha Sch. Bus Co. v. Wagner, 910 N.E.2d 1134, 1149-50 (Ill. App. Ct. 2009) (breach of

fiduciary duty claim not preempted because it was not based on misappropriation).

       Because the Illinois Supreme Court has not squarely addressed the scope of ITSA

preemption, rulings from other UTSA-state high courts and the intent behind UTSA should

dictate the scope of ITSA preemption. Hecny, 430 F.3d at 404-05. Those rulings indicate that

preemption is appropriate here.

                                         ARGUMENT

       ITSA preempts non-contractual common law claims when they “rest on the conduct that

is said to misappropriate trade secrets” or “competitively significant secret information.” Hecny,

430 F.3d at 404-05 (citing UNIF. TRADE SECRETS ACT § 7 cmt. (amended 1985)). Thus, as the

Supreme Court of Hawaii said in interpreting the UTSA-based Hawaii Trade Secret Act, non-

contractual common law claims are preempted when they are based on the alleged

misappropriation of confidential information, even if such information “does not rise to the level

of a statutorily-defined trade secret.” See BlueEarth Biofuels, LLC. v. Hawaiian Elec. Co., 235

P.3d 310, 325 (Haw. 2010). Other state supreme courts have agreed and ruled that preemption is



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appropriate prior to a determination of whether a plaintiff’s alleged trade secret information

meets the statutory definition of a trade secret. See Mortgage Specialists, 904 A.2d at 664 (N.H.

2006); Savor, Inc. v. FMR Corp., 812 A.2d 894, 898 (Del. 2002).

           Plaintiffs’ claims for fraudulent inducement (regarding buckets) and unjust enrichment

should be rejected at this juncture for two reasons. First, Plaintiffs’ claims are preempted by

ITSA because they rest on conduct that is claimed to misappropriate trade secret or competitively

significant secret information. Second, preemption of Plaintiffs’ claims is proper now without

regard to whether Plaintiffs’ claimed secret information rises to the level of statutory trade

secrets.

I. PLAINTIFFS’ CLAIMS ARE PREEMPTED BECAUSE THEY REST ON CONDUCT
   CLAIMED TO MISAPPROPRIATE TRADE SECRET INFORMATION

           Plaintiffs’ claims for (A) fraudulent inducement (regarding buckets) and (B) unjust

enrichment are preempted by ITSA because they are non-contractual common law claims based

on Caterpillar’s alleged misappropriation of Plaintiffs’ supposed trade secret information.

Hecny, 430 F.3d at 404-05. In order to determine whether Plaintiffs’ common law claims rest on

conduct that supports an ITSA claim, the Court must assess whether the claim is factually

independent from Plaintiffs’ ITSA claim.           See BlueEarth, 235 P.3d at 317-18; Mortgage

Specialists, 904 A.2d at 666.

           A.   Plaintiffs’ Fraudulent Inducement Claim With Respect To Buckets Rests On
                Conduct That Is Said to Misappropriate Trade Secrets

           Count 3 alleges, in pertinent part, that Caterpillar fraudulently induced Plaintiffs to turn

over trade secret and confidential information so that Caterpillar could use that information to

develop its own bucket:

                  84.   On information and belief, CAT also, through various of its
                  employees, affirmatively began soliciting Miller’s trade secrets and


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                 confidential information regarding the Scoop Bucket with the intent to
                 induce Miller to provide CAT with its trade secrets and confidential
                 information not so that CAT could purchase the Scoop Bucket, but so that
                 CAT could complete the development of its own bucket, from which CAT
                 has derived and continues to derive substantial revenue and other benefits.

                 85.    In reliance on either CAT’s materially false affirmative statements,
                 Miller made substantial investments in expanding its facilities to meet
                 CAT’s future requirements and also provided it valuable trade secrets and
                 confidential information relating to the Scoop Bucket.

((SOF ¶ 11.) (emphasis added)). The allegations center on “trade secrets and confidential

information.” (SOF ¶ 11.)

       Moreover, Plaintiffs’ “fraudulent inducement” claim relies on the same conduct that

underlies Plaintiffs’ claim for trade secret misappropriation (SOF ¶ 10):

                Caterpillar allegedly solicited Plaintiffs’ trade secrets and confidential information
                 regarding the Scoop Bucket.

                Plaintiffs purportedly turned over their trade secrets and confidential information
                 to Caterpillar.

                Caterpillar supposedly used Plaintiffs’ trade secrets and confidential information
                 to develop its own bucket.

See Learning Curve Toys, Inc. v. Playwood Toys, Inc., 342 F.3d 714, 721 (7th Cir. 2003) (ITSA

violation proved by showing that a trade secret was misappropriated and used in defendant’s

business).

       Plaintiffs have merely re-pled their ITSA claim under a fraudulent inducement label.

UTSA preempts such claims. BlueEarth, 235 P.3d at 317 (UTSA preempts claims that merely

assert trade secret misappropriation facts under a different label). Thus, Plaintiffs’ fraudulent

inducement claim (regarding buckets) is preempted. Hecny, 430 F.3d at 404-05.




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       B.      Plaintiffs’ Unjust Enrichment Claim Is Preempted Because It Rests On
               Conduct That Is Said To Misappropriate Trade Secrets

       Count 4 alleges that Caterpillar was unjustly enriched by using proprietary and

confidential information supplied to it by Plaintiffs:

               89.     CAT has been unjustly enriched at the expense of Miller by its use
               of the proprietary and confidential information supplied to it by Miller
               related to Miller’s Scoop Bucket.

               90.    CAT also has been unjustly enriched at the expense of Miller by its
               use of the proprietary and confidential information, supplied to it by
               Miller, outside the terms of the Supply Agreement[,] in developing,
               manufacturing, and selling the Caterpillar Center-Lock Pin-Grabber Quick
               Coupler.

((SOF ¶ 12.) (emphasis added)).        The “proprietary and confidential information” allegedly

constitutes trade secrets. (SOF ¶¶ 12, 17.) These same alleged facts also support Plaintiffs’

claim for trade secret misappropriation under ITSA. (SOF ¶ 12.) See Learning Curve Toys, 342

F.3d at 721 (ITSA violation proved by showing that a trade secret was misappropriated and used

in defendant’s business).

       It is apparent from Plaintiffs’ claims that their ITSA misappropriation and unjust

enrichment claims rest on identical facts. Moreover, Plaintiffs have not alleged any basis for

their unjust enrichment claim other than Caterpillar’s use of proprietary and confidential

information.

       ITSA specifically displaced restitutionary claims based on trade secret or confidential

information.   See footnote 1, supra.       Accordingly, Plaintiffs’ unjust enrichment claim is

preempted. See Mortgage Specialists, 904 A.2d at 666; see also Pope, 694 N.E.2d at 619 (ITSA

preempts unjust enrichment claims because they are “essentially” claims for restitution).




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II. PREEMPTION IS PROPER NOW WITHOUT REGARD TO WHETHER
    PLAINTIFFS’ INFORMATION CONSTITUTES A TRADE SECRET

       Plaintiffs’ claims for fraudulent inducement (with respect to buckets) and unjust

enrichment are preempted once the Court determines that they rest on conduct that also is said to

constitute a misappropriation of trade secrets. As discussed below, the Court should not concern

itself with whether the allegedly misappropriated information meets the ITSA trade secret

definition. This approach comports with decisions from the highest courts of other UTSA states,

the Commissioners’ comment to UTSA, and the purpose of creating a uniform law. A contrary

approach would render the preemption provision virtually meaningless.

       UTSA preempts common law claims for misappropriation of confidential information

even if the confidential information does not constitute a trade secret. In BlueEarth, 235 P.3d at

323-24, the Supreme Court of Hawaii recognized that UTSA displaces non-contractual common

law claims based on misappropriation of “confidential and/or commercially valuable information

that does not rise to the level of a statutorily-defined trade secret.” Id. at 323. If a plaintiff’s

information does not qualify as a UTSA trade secret, non-contract law will not protect it. Id. at

324 (“It is a legal non sequitor to suggest general tort causes may be employed to protect legal

rights which otherwise would not exist….”); Mortgage Specialists, 904 A.2d at 666 (“[T]he

common law no longer protects confidential information from mere misuse unless it is a

statutory trade secret.”); Savor, 812 A.2d at 898 (preemption proper even before information is

established to be a trade secret); see also Composite Marine Propellers, Inc. v. Van Der Woude,

962 F.2d 1263, 1265 (7th Cir. 1992) (“…Illinois has abolished all common law theories of




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misuse of [secret] information…. Unless defendants misappropriated a (statutory) trade secret,

they did no legal wrong.”) (citing ITSA); 765 ILL. COMP. STAT. 1065/8(b).4

        The preemption of Plaintiffs’ claims at this juncture comports with the Commissioners’

comment to the UTSA preemption provision, which recognizes that a common law claim will

not be preempted when it depends on a legal duty unrelated to confidential information (such as

an agent’s duty of loyalty), UNIF. TRADE SECRETS ACT § 7 cmt, but will be preempted where, as

here, common law claims rest on a purported duty to protect confidential information. See

Hecny, 430 F.3d at 404-05 (Judge Easterbrook citing Commissioners’ comment to UTSA).

        States that have adopted UTSA should apply it uniformly. Indeed, the purpose of a

uniform statute like UTSA is to provide the benefits of uniform interpretation from state to state.

See, e.g., Mortgage Specialists, 904 A.2d at 662-63 (citing UTSA prefatory note). Thus, in

accord with the laws of other UTSA states, preemption should apply here regardless of whether

the allegedly trade secret information may eventually qualify as an ITSA trade secret. See

Mortgage Specialists, 904 A.2d at 664.

        A contrary interpretation of UTSA would render its preemption provision virtually

meaningless. BlueEarth, 235 P.3d at 321-22. If a litigant could pursue simultaneous claims for a

UTSA violation and other common-law claims resting on conduct that is said to misappropriate

trade secrets, then UTSA would be reduced to “just another basis for recovery,” id. at 322, and




4
  State supreme court cases show that pleading in the alternative does not undermine the
preemptive force of Section 7 of UTSA. See BlueEarth, 235 P.3d at 324 (Hawaii); Mortgage
Specialists, 904 A.2d at 664 (New Hampshire); see also Savor, 812 A.2d at 898 (Delaware).
Moreover, the Rules Enabling Act establishes that state substantive law cannot be displaced or
overruled by rules of federal procedure. See 28 U.S.C. § 2072(b) (2006) (federal procedural
rules “shall not abridge, enlarge or modify any substantive right”).



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the intent of UTSA preemption—to displace non-contractual common law claims resting on such

conduct—would be ignored. Id. at 318-19, 321-22.

                                         CONCLUSION

        For all of the foregoing reasons, the Court should grant Caterpillar partial summary

judgment on Count 3 (regarding buckets) and summary judgment on Count 4 of Plaintiffs’

Amended and Supplemental Complaint. No genuine issue of material fact exists regarding these

causes of action, and Caterpillar is entitled to judgment as a matter of law.



Date: January 31, 2012                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I, John Stapleton, hereby certify that on January 31, 2012, the foregoing
MEMORANDUM IN SUPPORT OF MOTION OF CATERPILLAR INC. FOR PARTIAL
SUMMARY JUDGMENT ON COUNT 3 AND FOR SUMMARY JUDGMENT ON
COUNT 4 OF PLAINTIFFS’ AMENDED AND SUPPLEMENTAL COMPLAINT was
filed with the Clerk of the Court and served by operation of the electronic filing system of the
United States District Court for the Northern District of Illinois upon the following counsel who
have consented to receive notice of filings in the above-captioned matter pursuant to Fed. R. Civ.
P. 5(b)(2)(D), the General Order on Electronic Case Filing, and Local Rule 5.9:


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